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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION                     MDL 2804
 OPIATE LITIGATION
                                                 Case No. 17-md-2804
 This document relates to:
                                                 Hon. Dan Aaron Polster
 All Cases



               PLAINTIFFS’ EXECUTIVE COMMITTEE’S STATUS REPORT
                   FOR THE JUNE 22, 2022 STATUS CONFERENCE

          Pursuant to the Court’s Order (Doc # 4380), the PEC submits this Status Report.

Most of the Defendants who have filed status reports express an interest in private

mediation rather than engage in active litigation tracks or the selection of bellwether case

trials.

          The PEC agrees that engaging in mediation should be given priority on the

condition that there be an appropriate exchange of information to make settlement

negotiations in mediation meaningful.

          Therefore, the PEC suggests that the following disclosures be made:

          1. Each Defendant shall provide a list of all federal and state court cases in which
             they have been named;

          2. Each Defendant shall identify all corporate entities within their corporate family
             that manufactured or distributed opioids at any time during their association
             with each such entity, including their corporate relationship presently and at the
             time of the manufacture and/or distribution of opioids by each associated entity;

          3. Each Defendant shall provide information as to the time frames in which they
             engaged in the manufacturing or distribution of opioids;
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      4. Each manufacturer Defendant shall identify the opioids it manufactured and/or
         distributed, the time periods they were manufactured and/or distributed, and
         the NDA, ANDA and/or DEA registrant for each such opioid.

      5. Each Defendant shall provide information as to the annual quantity by dosage
         units and MME of opioids that they either manufactured or distributed. This
         information should be provided at least from 2006 through 2020;

      6. Each distributor Defendant shall list the names and locations of all pharmacies
         to whom opioids were distributed;

      7. Each defendant shall provide all DEA audits or warnings concerning their
         suspicious order monitoring program, internal and external audit reports
         concerning their suspicious order monitoring program, all written standard
         operating procedures or guidelines for their suspicious order monitoring
         program and their operative time periods, and the identity of all suspicious
         orders reported to the DEA;

      8. The Defendants shall provide financial information including balance sheets
         and financial statements for their most recent fiscal years, and;

      9. The Defendants shall inform the Court the scope of the release that they would
         be seeking in settlement of their cases, i.e., whether it would include non-
         litigating claimants.
      The PEC further suggests the Court set a time frame for the exchange of this

information, and that after the exchange of information is complete, the Court set a status

conference to create a schedule for private mediation. Individual Defendants can request

mediation for themselves or clustered with other Defendants.

      The PEC notes that the Court’s Order (Doc # 4380) recognizes that there are a

number of other remaining manufacturer or distributor Defendants, other than those

listed, for whom a litigation track has not been formulated. The PEC suggests that this

same process be formulated for any other MDL Defendants not named in this order.




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                                          Respectfully submitted,
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                              CERTIFICATE OF SERVICE
       I hereby certify that on June 18, 2022, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of
record by, and may be obtained through, the Court CM/ECF system.


                                                    /s/Peter H. Weinberger
                                                    Peter H. Weinberger
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